Case 5:07-cr-00022-TBR Document 166 FiledO /2 /O )Pfa\g of 15|3£9£|9#'6§,5\7‘£2£{ 32
. _ )

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY
AT PADUCAH
pa FEBzz mz:zs
UNITED STATES OF AMERICA ` mthA PLAINTIFF
KN)D!§TR!C? EOUHT ?§" f
W{S£N {HST.HFHIZ;
v. CRIMINAL NO. 5:O7CR-22~R
TIMOTHY JAMES BINKLEY DEFENDANT

PLEA AGREEMENT

Pursuant to Rule ll(c)(l)(B) of the Federal Rules of
Criminal Procedure, the United States of America, by David L.
Huber, United States Attorney for the Western District of
Kentucky, and defendant, TIMOTHY JAMES BINKLEY, and his attorney,
Del Pruitt, have agreed upon the following:

l. Defendant acknowledges that he has been charged in the
Indictment in this case with a violation of Title 21, United
States Code, Sections 846 and 84l(a)(l)&(b)(l)(A)(viii).
Defendant further acknowledges that the lndictment in this case
seeks forfeiture of any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as a result of
such violation, and any property used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission of
such violation, including but not limited to the following:

$25,716.16 U.S. currency; and a Keltee 9mm handgun bearing SN

l25849 with 9mm ammunition pursuant to Title 21, United States

&“? wu

 

 

i

Case 5:07-cr-00022-TBR Document 166 Filed 02/22/08 Page 2 of 15 Page|D #: 358

Code, Section 853 and Title 18, United States Code, Section
924(d), by reason of the offense charged in Count l of the
Indictment.

2. Defendant has read the charges against him contained in
the lndictment; and those charges have been fully explained to
him by his attorney. Defendant fully understands the nature and
elements of the crimes with which he has been charged.

3. Defendant will enter a voluntary plea of guilty to
conspiring to possess with intent to distribute more than 500
grams of methamphetamine in this case. Defendant will plead
guilty because he is in fact guilty of the charge. The parties
agree to the following factual basis for this plea:

Defendant Binkley conspired with individuals both named and
unnamed in the lndictment to distribute methamphetamine in
Western Kentucky. Specifically, in the Fall of 2003, Defendant
Binkley moved to Atlanta, Georgia and found a source of supply
for methamphetamine. Over the course of time, Defendant Binkley
then began supplying co-defendant Russell Hunt and others in
Western Kentucky, including but not limited to, co-defendants
Randy Cowsert, Ollie Peek, Troy Fox, Wade Hopkins, Mike Towery,
Mike Loveless and Bob Topp with methamphetamine. Binkley could
purchase a pound of methamphetamine for $10,500 in Atlanta and

sell it for $22,000 in Western Kentucky. Binkley freely admits

that during the time frame charged in the conspiracy, he sold at

 

Case 5:O7-cr-00022-TBR Document 166 Filed 02/22/08 Page 3 of 15 Page|D #: 359

least ten pounds of methamphetamine to his co-defendants in
Western Kentucky.

In May, 2006, Binkley was arrested by Paducah Police
Department when he tried to claim a bag containing
methamphetamine residue and approximately $22,000 in cash that
had been left in a rental car at Enterprise Car Rentals. Paducah
Police obtained a search warrant for Binkley's hotel room where
they found additional money and drug paraphernalia. Co-defendant
Baucum was arrested at that time. A search of Binkley's truck
revealed a Keltee 9mm handgun bearing SN 125849 with 9mm
ammunition. Binkley later admitted to law enforcement that
during the course of this drug conspiracy, co-defendant Baucum
had once sold l/2 pound of methamphetamine for him.

Defendant Binkley freely admits that the $25,716.16 currency
and the 9mm handgun listed in the forfeiture count of the
Indictment are forfeitable property as they constitute proceeds
obtained, directly or indirectly, as a result of his drug
trafficking and/or property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of
such drug trafficking.

4. Defendant understands that the charge to which he will
plead guilty carries a minimum term of imprisonment of ten years,

a maximum term of imprisonment of life, a maximum fine of

$4,000,000, and supervised release of at least five years and up

 

 

Case 5:O7-cr-00022-TBR Document 166 Filed 02/22/08 Page 4 of 15 Page|D #: 360

to any number of years, including life, which the Court may
specify. Defendant understands that an additional term of
imprisonment may be ordered if the terms of the supervised
release are violated, as explained in 18 U.S.C. § 3583.

Defendant understands that as a result of the charge to which he
will plead guilty he will be ordered to forfeit any property
constituting, or derived from, any proceeds obtained, directly or
indirectly, as a result of such violation, and any property used,
or intended to be used, in any manner or part, to commit, or to
facilitate the commission of such violation, including but not
limited to the following: $25,7l6.l6 U.S. currency; and a Keltee
9mm handgun bearing SN 125849 with 9mm ammunition.

5. Defendant understands that if a term of imprisonment of
more than one year is imposed, the Sentencing Guidelines require
a term of supervised release and that he will then be subject to
certain conditions of release. §§BDl.l, 5Dl.2, 5Dl.3.

6. Defendant understands that by pleading guilty, he
surrenders certain rights set forth below. Defendant's attorney
has explained those rights to him and the consequences of his
waiver of those rights, including the following:

A. If defendant persists in a plea of not guilty
to the charge against him, he has the right to a public

and speedy trial. The trial could either be a jury

trial or a trial by the judge sitting without a jury.

 

 

Case 5:O7-Cr-00022-TBR Document 166 Filed 02/22/08 Page 5 of 15 Page|D #: 361

If there is a jury trial, the jury would have to agree
unanimously before it could return a verdict of either
guilty or not guilty. The jury would be instructed
that defendant is presumed innocent and that it could
not convict him unless, after hearing all the evidence,
it was persuaded of defendant's guilt beyond a
reasonable doubt.

B. At a trial, whether by a jury or a judge; the
United States would be required to present its
witnesses and other evidence against defendant.
Defendant would be able to confront those government
witnesses and his attorney would be able to cross-
examine them. In turn, defendant could present
witnesses and other evidence in his own behalf. If the
witnesses for defendant would not appear voluntarily,
he could require their attendance through the subpoena
power of the Court.

C. At a trial, defendant would have a privilege
against self-incrimination and he could decline to
testify, without any inference of guilt being drawn
from his refusal to testify, lf defendant desired to
do so, he could testify in his own behalf.

7. Defendant understands that the United States Attorney's

Office has an obligation to fully apprise the District Court and

 

Case 5:O7-cr-00022-TBR Document 166 Filed 02/22/08 Page 6 of 15 Page|D #: 362

the United States Probation Office of all facts pertinent to the
sentencing process, and to respond to all legal or factual
inquiries that might arise either before, during, or after
sentencing. Defendant admits all acts and essential elements of
the indictment count to which he pleads guilty.

8. Defendant understands that he may be responsible for a
fine, costs of prosecution, costs of incarceration and
supervision which may be required.

9. Defendant acknowledges liability for the special
assessment mandated by l8 U.S.C. § 3013 and will pay the
assessment in the amount of $100.00 to the United States District

Court Clerk's Office by the date of sentencing.

l0. At the time of sentencing, the United States will

-recommend a sentence of imprisonment at the
lowest end of the applicable Guideline Range,
but not less than any mandatory minimum term
of imprisonment required by law.

-recommend a fine at the lowest end of the
applicable Guideline Range, to be due and
payable on the date of sentencing.l

-recommend a reduction of 3 levels below the
otherwise applicable Guideline for
"acceptance of responsibility" as provided by
§3El.l(a) and (b), provided the defendant
does not engage in future conduct which

 

l The defendant acknowledges that he has read the Notice and
Penalty Pages attached to the Indictment/Information, and that he
understands the interest and penalty provisions applicable to the
fine imposed and included in the Judgment entered by the Court,
said Notice and Penalty Pages are incorporated herein by reference.

6

 

Case 5:O7-cr-00022-TBR Document 166 Filed 02/22/08 Page 7 of 15 Page|D #: 363

violates a condition of bond, constitutes
obstruction of justice, or otherwise
demonstrates a lack of acceptance of
responsibility. Should such conduct occur
and the United States, therefore, opposes the
reduction for acceptance, this plea agreement
remains binding and the defendant will not be
allowed to withdraw his plea.

-consider making a motion pursuant to §5K1.1
of the Sentencing Guidelines and 18 U.S.C. §
3553(e), stating the extent to which the
defendant has provided substantial assistance
in the investigation or prosecution of
another person who has committed an offense.
Whether or not to make such motion shall be
in the sole discretion of the United States
Attorney.

-demand forfeiture of any property
constituting, or derived from, any proceeds
obtained, directly or indirectly, as a result
of such violation, and any property used, or
intended to be used, in any manner or part,
to commit, or to facilitate the commission of
such violation, including but not limited to
the following: $25,716.16 U.S. currency; and
a Keltee 9mm handgun bearing SN 125849 with
9mm ammunition.

11. Both parties have independently reviewed the Sentencing
Guidelines applicable in this case, and in their best judgment
and belief, conclude as follows:

A. The Applicable Offense Level should be
determined as follows:

Base Offense Level = 36 pursuant to 2D1.1(c)(2)

for at least 5 kilograms but less than 15

kilograms of methamphetamine

Acceptance of Responsibility = -3 pursuant to 3E1.l(a)&(b)

B. The Criminal History of defendant shall be

7

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 8 of 15 Page|D #: 364

determined upon completion of the presentence investigation,

pursuant to Fed. R. Crim. P. 32(c). Both parties reserve

the right to object to the USSG §4A1.l calculation of
defendant's criminal history. The parties agree to not seek

a departure from the Criminal History Category pursuant to

§4A1.3.

C. The foregoing statements of applicability of
sections of the Sentencing Guidelines and the statement

of facts are not binding upon the Court. The defendant

understands the Court will independently calculate the

Guidelines at sentencing and defendant may not withdraw'

the plea of guilty solely because the Court does not

agree with either the statement of facts or Sentencing

Guideline application.

12. Defendant is aware of his right to appeal his
conviction and that 18 U.S.C. § 3742 affords a defendant the
right to appeal the sentence imposed. The Defendant knowingly
and voluntarily waives the right (a) to directly appeal his
conviction and the resulting sentence pursuant to Fed. R. App. P.
4(b) and 18 U.S.C. § 3742, and (b) to contest or collaterally
attack his conviction and the resulting sentence pursuant to 28
U.S.C. § 2255 for ineffective assistance of counsel or otherwise.

Defendant understands and agrees that nothing in this plea

agreement should be construed as a waiver by the United States of

 

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 9 of 15 Page|D #: 365

its right to appeal the sentence under 18 U.S.C. § 3742.

13. Defendant understands and agrees that complete and
truthful cooperation is a material condition of this Agreement.
Defendant understands that such cooperation shall be provided to
any state, local, and federal law enforcement agencies designated
by counsel for the United States. Cooperation will include:

A. providing all information known to defendant
regarding any criminal activity, including but not
limited to the offenses described in this Agreement;

B. complying with all reasonable instructions
from the United States;

C. submitting to interviews by investigators and
attorneys at such reasonable times and places to be
determined by counsel for the United States; and

D. testifying fully and truthfully before any
grand juries or at any trials or proceedings where
defendant's testimony is deemed by the United States to
be relevant.

14. The United States agrees that any statements made by
defendant during the cooperation phase of this Agreement shall
not be used against defendant in any subsequent civil or criminal
prosecutions unless and until there is a determination by the

Court that defendant has breached this Agreement.

15. ln the event the United States believes defendant has

 

 

 

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 10 of 15 Page|D #: 366

failed to fulfill any obligations under this Agreement, then the
United States shall, in its discretion, have the option of being
relieved of its obligations under the plea agreement. Whether or
not defendant has completely fulfilled all of the obligations
under this Agreement shall be determined by the United States.

16. Defendant and the United States agree that in the event
the defendant has breached the Agreement:

A. Defendant will not be permitted to withdraw
any guilty plea tendered under this Agreement and
agrees not to petition for withdrawal of any guilty
plea;

B. The United States will be free to make any
recommendations to the Court regarding sentencing in
this case;

C. Any evidence or statements made by defendant
during the cooperation phase will be admissible at any
trials or sentencing;

D. The United States will be free to bring any
other charges it has against defendant.

17. This Agreement is entered into by the United States on
the basis of the express representation of defendant that he is
making a full and complete disclosure of all assets over which he
exercises control.

18. Defendant agrees to the forfeiture of any interest he

lO

 

 

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 11 of 15 Page|D #: 367

or his nominees may have in the following assets which he owns or
over which he exercises control: any property constituting, or
derived from, any proceeds obtained, directly or indirectly, as a
result of such violation, and any property used, or intended to
be used, in any manner or part, to commit, or to facilitate the
commission of such violation, including but not limited to the
following: $25,716.16 U.S. currency; and a Keltee 9mm handgun
bearing SN 125849 with 9mm ammunition.

19. By this Agreement, defendant agrees to forfeit all
interests in the properties listed in paragraph 18 above and to
take whatever steps are necessary to pass clear title to the
United States. These steps include but are not limited to
surrender of title, the signing of a consent decree, a
stipulation of facts regarding the transfer and basis for the
forfeitures and signing any other documents necessary to
effectuate such transfers.

20. Defendant agrees to a pre-plea investigation by the
United States Marshal's Service for the purpose of assessing the
value of each and every asset. Defendant agrees to undergo a
full debriefing in order to accomplish this`end.

21. Defendant agrees to waive any double jeopardy
challenges that defendant may have to any administrative or civil
forfeiture actions arising out of the course of conduct that

provide the factual basis for this lndictment. Defendant further

ll

 

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 12 of 15 Page|D #: 368

agrees to waive any double jeopardy challenges that defendant may
have to the charges in this Indictment based upon any pending or
completed administrative or civil forfeiture actions.

22. Defendant waives and agrees to waive any rights under
the Speedy Trial Act and understands and agrees that sentencing
may be delayed until the cooperation phase has been completed and
title to all assets has fully vested in the United States. The
reason for such waiver is so that at sentencing the Court will
have the benefit of all relevant information.

23. Nothing in this Agreement shall protect defendant in
any way from prosecution for any offense committed after the date
of this Agreement, including perjury, false declaration, or false
statement, in violation of 18 U.S.C. §§ 1621, 1623, or 1001, or
obstruction of justice, in violation of 18 U.S.C. §§ 1503, 1505,
or 1510, should defendant commit any of those offenses during the
cooperation phase of this Agreement. Should defendant be charged
with any offense alleged to have occurred after the date of this
Agreement, the information and documents disclosed to the United
States during the course of the cooperation could be used against
defendant in any such prosecution,

24. Defendant agrees not to pursue or initiate any civil
claims or suits against the United States of America, its
agencies or employees, whether or not presently known to

defendant, arising out of the investigation or prosecution of the

12

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 13 of 15 Page|D #: 369

offenses covered by this Agreement.

25. The defendant hereby waives all rights, whether
asserted directly or by a representative, to request or receive
from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case,
including without limitation any records that may be sought under
the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy
Act of 1974, 5 U.S.C. § 552a.

26. Defendant agrees to interpose no objection to the
United States transferring evidence or providing information
concerning defendant and this offense, to other state and federal
agencies or other organizations, including, but not limited to
the Internal Revenue Service, other law enforcement agencies, and
any licensing and regulatory bodies, or to the entry of an order
under Fed. R. Crim. P. 6(e) authorizing transfer to the
Examination Division of the Internal Revenue Service of
defendant's documents, or documents of third persons, in
possession of the Grand Jury, the United States Attorney, or the
Criminal lnvestigation Division of the lnternal Revenue Service.

27. lt is understood that pursuant to Fed. R. Crim. P.
ll(c)(l)(B), the recommendations of the United States are not
binding on the Court. In other words, the Court is not bound by
the sentencing recommendation and defendant will have no right to
withdraw his guilty plea if the Court decides not to accept the
sentencing recommendation set forth in this Agreement.

28. Defendant agrees that the disposition provided for

13

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 14 of 15 `Page|D #: 370

within this Agreement is fair, taking into account all
aggravating and mitigating factors. Defendant states that he has
informed the United States Attorney's Office and the Probation
Officer, either directly or through his attorney, of all
mitigating factors. Defendant will not oppose imposition of a
sentence incorporating the disposition provided for within this
Agreement, nor argue for any other sentence. If Defendant argues
for any sentence other than the one to which he has agreed, he is
in breach of this Agreement. Defendant agrees that the remedy
for this breach is that the United States is relieved of its
obligations under this Agreement, but Defendant may not withdraw
his guilty plea because of his breach.

29. This document states the complete and only Plea
Agreement between the United States Attorney for the Western
District of Kentucky and defendant in this case, and is binding
only on the parties to this Agreement, supersedes all prior
understandings, if any, whether written or oral, and cannot be
modified other than in writing that is signed by all parties or
on the record in Court. No other promises or inducements have
been or will be made to defendant in connection with this case,

nor have any predictions or threats been made in connection with

14

 

Case 5:O7-cr-OOO22-TBR Document 166 Filed 02/22/08 Page 15 of 15 Page|D #: 371

this plea.
AGREED:

DAVID L. HUBER
United States Attorney

 

 

By: c
W\MWMM al /§/:>8
Michele Thielhorn Date l /

Assistant U.S. Attorney

l have read this Agreement and carefully reviewed every part
of it with my attorney. 1 fully understand it and 1 voluntarily
agree to it.

47 //§//)7

Uate

 

efendant

I am the defendant's counsel. l have carefully reviewed
every part of this Agreement with the defendant. To my knowledge
my client's decision to enter into this Agreement is an informed
and voluntary one.

4 j ~ r `
N/LAZAP z/ 1-2/05/
DeYPruitt Date '

Counsel for Defendant Timothy Binkley

DLH:mlt:07l218

 

